     Case 8:21-bk-11710-SC Doc 225-1 Filed 09/12/22 Entered 09/12/22 13:50:20                   Desc
                   Order Authorizing Debtors Notice To Trustee Page 1 of 2


1     JAMIE  LYNN GALLIAN
      16222 MONTEREY LANE UNIT 376
2
      HUNTINGTON BEACH, CA 92649
3     714-321-3449
      JAMIEGALLIAN@GMAIL.COM
4

5

6
                                 UNITED STATES BANKRUPTCY COURT
7
                   CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
8

9     JAMIE LYNN GALLIAN                                     Case No. 8:21-bk-11710-SC
                                                             Chapter 7
10                   DEBTOR,

11
                                                             ORDER AUTHORIZING DEBTORS
12                                                           NOTICE TO TRUSTEE TO ABANDON
                                                             ESTATE’S INTEREEST IN REINVESTED
13                                                           FUNDS FROM SALE OF UNIT 53,
14                                                           10/31/2018 APN 937-630-53 TO
                                                             PURCHASE LBM1081 ON NOVEMBER 1,
15                                                           2018, AND AGAINST JAMIE LYNN
                                                             GALLIAN RELATING TO THE
16                                                           PURCHASE IN THE PERSONAL
17                                                           PROPERTY COMMONY KNOWN AS
                                                             16222 MONTEREY LN. #376,
18                                                           HUNTINGTON BEACH, CALIFORNIA
                                                             92649.
19                                                           [DOC 203]
20

21

22

23            The Court having reviewed the Debtor’s Notice to Chapter 7 Trustee to Abandon Estate’s
24    Interest in Debtor’s Reinvested Funds From The Sale Of Unit 53 on 10/31/2018 A.P.N. 937-630-
25
      53 To Purchase LBM1081 on November 1, 2018, and against debtor Relating to the Purchase of
26
      the Personal Property Commonly Known As 16222 Monterey Ln. #376, Huntington Beach,
27

28    California 92649, and is in the best interest of the estate.
                                                         1
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1              It also appears that due and proper notice of the application was given to the Trustee,
2
      Trustee’s counsel, the United States Trustee, and all parties in interest. It also appears that no
3
      objections or requests for hearing with respect to the application to abandon property have been
4

5
      filed.

6     ///

7     ///
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10

11
                      It appearing that good cause exists,

12                    IT IS ORDERED THAT:
13
                      1.      The application by Debtor is approved, and the Trustee is authorized to
14
      abandon the Estate’s Interest in Debtor’s Reinvested Funds From the the Chapter Sale of Unit
15

16
      53, on 10/31/2018 APN 937-630-53, To Purchase LBM1081 on November 1, 2018 and against

17    Jamie Gallian Relating to the Purchase in the Personal Property Commonly Known As 16222

18    Monterey Ln. #376, Huntington Beach, California 92649, is abandoned to the Debtor.
19
                                                            ###
20

21

22

23

24                    Dated: September ___, 2022
25

26
                                                            Scott C. Clarkson
27                                                          United States Bankruptcy Judge
28
                                                        2
